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 R\G\\ A
           \
                        IN THE INDIANA COURT OF APPEALS

                            CAUSE N0. 35A05-0909-CR-00515
 Eric Benson Skew:                            )   Appeal from the Huntington Circuii‘éiil   «




        AppclIaIII-Dcl’endnnt below           )

                                              )
 V.                                           )   Lower Court Came No. 35C0|-08|2-FA~00073
                                              )
 State of Indiana                             )   The Honorable Thomas M. ﬂakes. Judge
       Appellcc-Plaindﬂ below                )




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                                                                                     5:7! «94 20/0   '
                           IN THE INDIANA COURT 0F APPEALS

                              CAUSE N0. 35A05—0909-CR-00515
 Eric Benson Skulls                           )   Appeal fro- thc Huntington Cinch Court
        Appellant—Defeldam below              )

                                              )

 V.                                           )   Lower Court Cause No. SSCOI-OOI ZoFA-00073
                                              )

 State of Indiana                             )   The Honorable Thomas M. ﬂakes. Judge
        Appelkc-l’lﬂntiﬂ' below               )




        Whether this Court should grant transfer under Appellate Rule 57(H)(l) and (2) from the

 decision of the Indiana Conn of Appeals that held there was sufﬁcient evidence to suppon


 defendant‘s conviction for child molesting by deviate sexual conduct where thc child testiﬁed the


 defendant touched the outside of her privates and whet: she went potty. and that only reduced the


 defendant‘s inappropriate sentence from 187 years to 90 years.
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       m.    CONCLUSION ................................................ n                                                             .




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                              IN THE INDIANA COURT 0F APPEALS

                                 CAUSE N0. 35A05'0909-CR-00515
 Eric Benson Skeens                              )   Appeal from the Huntington Circuit Court
            Appellant-Defendnm below             )

                                                 )
 V.                                              )   Lower Court Cam No. SSCOI-oslz-FA-OOO‘B
                                                 )
 State of Indiana                                )   The Honorable Thomas M. ﬂakes. Judge
            Appelleﬁl’laintiﬂ below             )


                                                               EEK


        I                                              TMENT


            0n December 0, 2008, the State oflndiana ﬁled ﬁve charges against Eric Skeens (“Skeens”)
                          1




 alleging that he committed the offenses ofchild molesting against a single victim. (App. p. l. 9-] 3).


 The informations alleged that between March of2007 and December of2008, Skeens. who wasovcr

 twcnty-onc (2|) years of age, engaged in sexual intctcoursc with (Count l), performed om] sex on


 (Count H), submitted to oral sex from (Count Ill), penetrated, with an object, the sex organ of(Counl


 IV), and touched or fondled with the intent to arouse or satisfy his own sexual desires or that of


 (Count V), a child less than fourteen years ofage. (App. p. I 3). Counts I through IV wen each class


 A felonies and Count V was a class C felony. The case was set for a thl'ee day july trial that
 commenced on July 2 l. 2009.

            Aﬁcr the State rested. Skecns moved for a directed verdict on Count IV again; then was

 no evidence that K.W.'s sex organ was penetrated with an object.        (Tr. p. 637).   The trial coun

 denied the motion for a directed verdict. (Tr. p. 639). On July 23. 2009 thcjury found Skeens guilty


 ofall ﬁve counts.    The trial coun directed the Huntington County Probation Department to ptcparc
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 and ﬁle a Ptesentence Investigation Report and set the matter for sentencing on August 3|. 2009.


 (Tr. p. 703).


         On Counts l-IV, each child molesting as a class A felony. Skeens was sentenced to the

 advisory term of thirty (30) years, with ﬁﬁeen (15) years added for aggravating circumstances. 0n


 Count V, child molesting as a class C felony. Skeens was sentenced to the advisory sentence of four


 (4) yams. with three (3) years added for aggravating circumstances.              The trial coun ordered the

                                                                                   '
 sentences on the ﬁve counts to run consecutiveEy, for a total executed sentence o“ ”7 years. no          pm
 o: wmch was suspended. (Tr. p. 71 7).


         At the sentencing hearing, the trial court stated,

         I’ve gone back through the     um, ﬁle. I would note that we were here for was it three days?
         Something like that of trial.  I've gone through all the repons, gone through all the records. Uh,
        there's been ajudgment ofconwclion entered on the matters Counts one through ﬁve and in looking
        it all over. l ﬁnd that them wcrc aggnvalon and those include the position of trust. which I give

        gm! weighl. Position of care, control and custody which goes along with the trust. l give gm!
        weight. There wcrc repeated acts. Um, the victim was less than twelve ycats ofage that the statute
        speaks of. but in fact in this case the victim was between seven and eight years old, which is very
        young. Uh, much younger than the statute even requires. And there was a threat to line child if she
        told what was going on when the child tried to make an cffon lo tcll. I ﬁnd those are very stmng
        aggravalurs.   Ido consider the mitigators, and I do know that there is no criminal history. although
        l. ldid sec thctc was a pending charge the Court doesn't lake that into consideration, Ind l do ﬁnd

        no criminal history as a mitigator. Uh. l have considered the others likely uh, likelihood that he
        would respond lo probation. Uh. the adult report risk being three. The offense unlikely lo moccut.
        that hc has another child, and that he was employed. But in considering those, don’t ﬁnd those lo
                                                                                          l


        be miligalors.    ﬁnd that lhe mitigators strongly outweigh the aggtavators. Great weight is given
                           l



        to posilion of trust. When heard the evidence the chitd had no place to go. She described waking
                                    l


        up in the mornings and mom would be al work and dad. albeit stepdad would get her up so she could
        go to school. And the testimony was that he would engage in sexual acts with her prior to her going
        lo school. And he was thc one that she looked to protec! hcr. Position of trust carries grcat weight.
        l have also looked over uh. the uh deﬁnition ofrcstrictcd felon. and  lﬁnd that he is a child molester
        as set out by statute. That he is older than age twenty-one. and that the child is younger than twclvc.
        and l do a ﬁnding on those facts. On Count one l sentence you to thiny years and I Idd ﬁﬁccn for
        awanting circumstances. 0n Count two I sentence you to thiny years and ldd ﬂﬁecn for
        aggravating circumstances. On Count three l sentence you to thirty years and add ﬁﬂccn for
        aggravating circumstances. And on Count four I sentence you to thirty years and add ﬁﬂeen fat
        aunvating circumstances. And on Count five l sentence you to four years and add three years f0!
        aggravating circumstances. l suspend none of that lime. all lime lo run consecutive. You have the
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         rig!“ Io appeal this conviction.   lf you wish to appeal. you need ﬁle either a motion f0: that. uh
         within thirty days of that. this due and l am Ippoiming Jenny Nix for purposes ofappul.


 (Tr. p. 7| 5-717).


         0n August 25. 2010. the Indiana Court oprpeals issued its Memonndum Decision - Not

 for Publication.     The Coun of Appeals found then was sufﬁcient evidence to sustain Skeens‘

 convictions, that the trial court did not abuse its discmion by declining to ﬁnd Skecns’ proposed


 mitigating factors. and that Skecns' sentence should bc reduced from 187 years to 9O years. Slip 0p.


 p. l4, 23   & 27. Skeens now seeks to transfer his case lo this Court.


         Eric Skeens, his wife. Rachel, and his stepdaughter. K.W., moved lo Huntington, Indiana in


 May of 2005.       (Tr. 450).    KW. was ﬁve years of age at the time and enrolled in Flint Springs

 Elcmcnwy.        (Tr. p. 45!).    Skecns and Rachel divorced on June 30, 2006, but continued to live

 together. (Tr. p. 451 ). ln September of 2007, Skeens, Rachel, and      KW. moved into a home located

 at 338 William Sweet in Huntington. (Tr. p. 453).         Following the move, KW. mfcrred lo Horace


 Mann Elementary in March of 2008 while in the second grade. (Tr. p. 455).               Rachel and KW.


 continued to live with Skecns on William Street until June of 2008 when Rachel lcﬁ him. (Tr. p.


 456).


         Rachel became a Certiﬁed Nursing Assistant (CNA) in Scptembct of2007. (Tr. p. 4S7). Her


 ﬁtstjob as a    CNA was on third shiﬁ a1 Norwoods Nursing Home. where she worked from 1:00 pm.  l




 to 7:00 am. (Tr. p. 458).       Rachel then worked at Parkview Home Health     & Hospice. where she had
 lo be at her palient's house by 8:00 a.m. during the week and typically worked every third weekend.


 (Tr. p. 462).    When Rachel had to leave early for work. Skecns' would put K.W. on the bus. (Tr. p.

 46! ). Skecns would also watch KW. while Rachel worked on the weekends.               (Tr. p. 463).   Even


                                                       3
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 aﬂct Rachel lcﬁ Skecns, Skecns maintained a relationship with KW. and would have her for visits


 on some weekends.           KW. did not have a relationship with her biological father and considered

 Skecns as her father. (Tr. p. 464).


         On December 5, 2008, the school counselor at Home Mann Elementary showed a video to

 K.W.‘s third grade class titled, “Breaking the Silence, Children Against Child Abuse.” (Tr. p. 4| l).


 The video contained a segment on sexual abuse. (Tr. p. 412). The general theme of the video was

 that ifabuse was occurring against a child, the child should tell an adult. lfthe adult        dos nothing,

 the child sI.   ....   ;ell another adult until   someone provided help. (Tr. p. 4 l 2). The school counselor

 instructed the students to write in their reﬂection journals following the video.         The students wen

 told that ifthey needed help, they should write the word “help” on their journal paper. (Tr. p. 413).


 While the counselor was observing the children writing in lhcirjoumals, K.W. indicated she wanted

 to talk to the counselor.       (Tr. p. 414).     Aﬁcr speaking with K.W.. the school counselor called the

 Huntington County Department of Child Services. (Tr. p. 416).


         Aﬂcr receiving the initial report, the Huntington County Department of Child Services

 (“HCDCS”) decided to investigate the rcpon immediately. (Tr. p. 434). Caseworkcr Nicole Allen

 (“Allen") spoke to the child's mother at the HCDCS headquancrs. (Tr. p. 43S). Allen contacted law


 enforcement, the Prosecutor's Ofﬁce. and McKenzie‘s Hope Child Advocacy Center Io schedule an


 interview later that day. (Tr. p. 437). Following the interview, an appointment was scheduled fut


 K.W. to be examined ax the Fort Wayne Sexual Assault Treatment Center. (Tr. p. 441).

         At the Fon Wayne Sexual Assault Tmtmcm Center. KW. was examined by Sharon Robison

 (“Robison”). a sexual assault nurse examiner.              Robison testiﬁed at trial that K.W. had a normal


 examination. meaning her hymen was perfect with no injury and hct anus was also perfect. (Tr. p.
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 S90). Robison further testiﬁed that in ninety to ninety-ﬁve percent ofchildml examined then will


 be no physical injury noted. She testiﬁed that injuries heal quickly because the female sex organ is


 very vmular so there is a lot of blood ﬂow.           (Tr. p. S93).   Robison testiﬁed that bued on the


 miner's medical history and time from the last alleged assault, she did not expect to ﬁlid any medical


 evidence of sexual assault. (Tr. p. 593).


            K.W. testiﬁed at trial against Skeens. KW. testiﬁed Skeens touched her on her private pans

while living at 338 William Street in Huntington. The touches occurred while thev were in the living


L   ...,   bathroom, and her parents' bedroom. (Tr. p. 5l6).     KW. testiﬁed that Skcens sat her on the

bathroom sink on a towel that he later used to wipe _up the white stuff that came om of her ptivate.


(Tr. p. 5 l 8).   While she sat on the sink, Skeens put his private inside her private. lt hurt when he did

so. (Tr. p. 521).      He would move around and white smﬁ came out of his private. (Tr. p. 522). It

looked kind ofwhite and a little bit bubbly. He would then take a towel and wipe it oﬁ'. (Tr. p. 522).


When she went to the bathroom after this happened il burned. (Tr. p. 523).

           KW. also testiﬁed that Skecns touched her private with his tongue and with his ﬁngers. (Tr.

p. 523).    The touching of her private with his tongue and ﬁngers occurred in the living mom and her

parcnts’ bedroom. (Tr. p. 524).      K.W. testiﬁed that she would lay on her back with Skecns below her

and under her legs, which were separated. (Tr. p. 526). Skeens would then lick her private with his


tongue, which felt wet and weird. (Tr. p. 527).       KW. further testiﬁed that Skecns would touch her

privates with his ﬁnger while in the living room, bathroom, and her parcnts' bedroom. (Tr. p. $29).


She indicated he touched the outside of hct private and would rub. (Tr. p. 530). Skecns would use

onc ﬁnger on both hands to rub her pﬁvaxcs in circles. (Tr. p. 53 l). He would touch where she        gm
potty. (Tr. p. 53 l ).   KW. also testiﬁed Skeens would put his private in her mouth. (Tr. p. 533). That
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occurred in the living room and her parcms' bedroom. (Tr. p. 533). She would lay on he: back while


Skecns was on his belly on top of her like a push up. (Tr. p. 534).     He would put his private in her

mouth. (Tr. p. 535). Finally, K.W. indicated that Skeens would touch her boobs with his ﬁngei' and


mouth.     (Tr. p. 537).   He would rub her boobs with his ﬁngers and lick them with his tongue. (Tr.

p. 538).



          KW. described Skecns' prints as a long type ofmushroom shape with a hole. (Tr. p. 538-

39). She indicated that Skeens would show her pornographic movies, one of WW1! was called “Real

      ‘


ma.       These movies would be shown on the ﬂat screen television in the living room and on the

television in the playroom. (Tr. p. 54! 42).    Skecns would touch her privates with his tongue, ﬁnger,


and his privates while they were watching the movies. (Tr. p. 542).

          On one occasion, KW. tried to leave the bedroom while the abuse was occurring. However,

Skeens told her that if she did not come back he would call the police and they would tell her mom.


KW. tutiﬁed she went back because she was scared.               (Tr. p. S44).   KW. twiﬁed that the

intercourse. oral sex, and fondling occurred in thc home located at 338 William Sheet in Huntington.


(Tr. p. S48).


          After   KW. was examined at the Sexual Assault Treatment Center. she was nfcrred to the

Bowen Center in Huntington for counseling. K.W.’s counselor testiﬁed that it was very common for

children to delay befom talking about sexual abuse. (Tr. p. 622). The counselor further testiﬁed that


K.W. was able to son out nality and that it had been very uncomfortable for her to talk about what

happened. (Tr. p. 626-27).
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          This Court should gram Skcens‘ Petition to Transfer under Appellate Rulc 57(H)(2). as the


 decision of the Conn of Appeals conﬂicts with the precedent ofthis Court. Evidence of a touching




 “penetration ofthe female sex organ.”         W. W.
 without more docs not support a conviction for child molesting as a class A felony. which requires


                                           k
 of the slightest penetration is enough to suppon a conviction. ﬁg
                                                                  67S N.E.2d 3 l 2. 31 5 (Ind. I997). Proof

                                                                                          540 N.E.2d 39.


                    There is no requirement that the vagina be penetrated, only that the female sex organ.


                                                     W.
 40 "   -. 1989).




          mm
 including the extenml genitalia, be penetrated.                     779 N.E.2d Ill. 11$ (Ind. Cl. App.

 2002).


          In   m          However. there must be proof of even the slightest penetration.

                         this Court addressed this issue in the context of penetration of the female sat


 organ during intercourse. rather than during deviate sexual conduct.         In   W,       there was n6


 physical 0t medical evidence ofpeneu-ation and the child testiﬁed that the defendant “tried" to have


 sex with her and that she did not know whethct he penetrated her.       W5.                675 N.E.2d a


 315. 'Ihe child testiﬁed that her vagina “as used to go to the bathroom as well as for intercourse,


 which showed a generalized understanding of the term and supported a view that any penetration

 would have been understood by her as pcncttation of her sex organ. 1i

          ln this case, Skeens was charged in Count     W with performing deviate sexual conduct     vyith


 KW. by penetrating. with an object, her female sex organ. The State submitted ajury insuuction that

 a ﬁnger is an “object" for pulposcs ofthe criminal statute deﬁning deviate sexual conduct and argued


 that Skccns should bc convicted of Count IV fou' penetrating K.W.‘s sex organ with his ﬁnger.


 Hnwcvcr. the nurse examiner who performed the sexual assault examination of KW. indicated that
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 then was no physical evidence that KW. was the victim of sexual abuse. The nurse exuniner

 testiﬁed that K.W. had a normal examination. meaning her hymen was perfect with no injmy.             The

 only evidence that could establish penetration of K.W.'s sex organ by Skccns’ ﬁnger was the


 testimony of K.W.


         0n direct examination, K.W. was speciﬁcally asked by the State, "Did he touch your private

 with his ﬁnger on the outside or thc inside or ....", to which K.W. replied, “The outside.“ (Tr. p. 530).


 The State subsequently asked KW.. “Did he ever touch the inside of your private whh his ﬁnger?’

 KW.     ,.l.:d.   “Mm, not really.” (Tr. p. 53 l ). When KW. was asked “Did be ever touch the. the part

 of your private where you go potty or anywhere like that?" K.W. replied, “Yes."              (Tr. p. 531).


 However. KW. never distinguished her “private" and the pan “whet: she gas potty." When

 subsequently asked,     KW. reiterated that Skccns “touched the outside ofit (her private)!‘ (Tr. p. 532).
 The testimony of K.W. never established that Skeens penetrated her sex organ m'th his ﬁnget. She

 speciﬁcally described rubbing in soﬂ circles on the outside of hcr private.      Thc touching or rubbing

 of her private by Skecns would only support a conviction for child molesting as a class C felony.

 K.W. was able lo understand the penetration of hcr scx organ. as she had ptcviously lesﬁﬁed that

 Skecns inserted his private inside her private. (Tr. p. 521 ). However, K.W. then clearly testiﬁed that


 Skeens only touched the outside of her private with his ﬁngers. Thus, the State failed to         ml
 sufﬁcient evidence that Skeens‘ ﬁnger penetrated, even slightly. the sex organ of K.W. to sustain a




 Conn of Appeals was in conﬂict with this Court‘s decision in        W
 conviction for child molesting by deviate sexual conduct as charged in Count IV. The decision ofthe


                                                                               and must be reversed.
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         This Court should grant Skeens‘ Peition to Transfer undet Appellate Rule 57(H)(l) and (2)


 as the sentencing decision conﬂicts with prior decisions of this Coun and the Indiana Court of


 Appeals. The Indiana Constitution was amended in I970 to gum the appellate courts the authority


 to “provide in all cases an absolute right lo     the... review and revision of sentences for defendants




 L


 m.
     ",_ :1in in sentencing.   W,
 in all criminal cases.” Ind. Const. An. 7, § 6.    The purpose ofthc amendment was to provide mom

                                                    785 N.E.2d 1169, H74 (Ind. Ct. App. 2003). mg.


          Pursuant to this authority, this Conn adopted Appellate Rule 7. which pmvidw that “[1] he


 court may revise a sentence authorized by statute if, aﬂer due consideration of the trial court‘s


 decision. the court ﬁnds that the sentence is inappropriate in light ofthe nature ofthc oﬂ‘ensc and the


 character of the oﬁender." App.R.7(B).     When this Court made the change to Appellate Rulc 7(8),

 the thrust was changed ﬁ'om a prohibition on revising sentences unless certain narrow conditions arc


 met to an authorization to revise sentences when cenain blond conditions arc satisﬁed.   W,
 826 N.E.2d 63S, 639 (Ind. 2005).

         In this case. Skeens was convicted of ﬁve counts of child molesting.      K.W. testiﬁed that all

 of the oﬁenses occun'cd while she lived a! 338 William Sueet in Huntington.          KW. lived at that

 address with her mother and Skeens for ten months. from September of 2007 until June of 2008.


 Skeens. Rachel and K.W. had all lived together for over ﬁvc years. from May of2003 until June of


 2008.   During that time. Skeens had acted as her father. as KW. had no relationship with her


 biological father.   Even aﬂer Rachel and K.W. moved out of Skeens’ home. KW. and Skeens
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 continued to have a relationship. There was a long period of time where the relationship between


 Skeens and KW. was constructive prior to the alleged molestation.


           Then was no evidence that Skccns inﬂicted substantial physical injuries on K.W.. ln fact, the

 nurse examiner noted that K.W.'s genitalia were perfect. There was also no evidence that Skeetts


 used forcc or threatened to use force to compel K.W. to participate, with the exception ofonc incident


 where K.W. indicated that Skecns threatened Io tell the police, who would tell bet mom. if she told

 anyone about the abuse. Thus, the nature of the offenses do not justify the imposition of emmced,

 s   .--ulivc sentences.


          The character of Skeens was shown by his complete lack of prior ctiminal convictions. He

 had custody ofhis ﬁve-ycar-old son at the time ofhis arrest, and had maintained steady employment

 for a substantial pen'od of time.   Skeens was not given the opportunity to be placed on probation,


 although his adult risk assessment instrumcm score showed a low level of supervision was needed.


 Thus, the charactet of Skeens does not support the imposition ofenhanced. consecutive sentenca.




                                                                            W
          ln reviewing the appropriateness ofsemcnces revised by this Court, a sentence at the advisory


 level for each count, to be served concurrently, is more appropriate and would provide uniformity


 between Skccns‘ sentence and that ofsimilarly situated defendants. ﬁg                      9l S N.E.2d


 l4] (Ind. 2009) (The defendant's sentence was revised lo concurrent terms of thirty years on two


 class   A felonies for child molesting and a class C felony for child molesting when the defendant

 molested his seven or cighl-ycar-old niece on two occasions, had no prior convictions. maintained


 steady employment. and served as a father ﬁgure to the victim for a number of years before


 committing his crimes);      Mm,              918 N.E.2d 428 (Ind. Cl. App. 2009) (The defendant's

 sentence was mvised Io concumm terms of Ihiny-six years on two class A felony convictions for



                                                     IO
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 child molesting and six years on four class   C felony convictions for child molesting where defendant

 repeatedly molested one ﬁve-year-old child, but there was no evidence the child sustained any




 steady employment);       W.
 injuries, defendant was in a position of trust. but defendant had no criminal history and maintained


                                               767 N.E.2d 967. 974 (Ind. 2002) (The defendant’s 50 year

 sentence was reduced to 4O years where the defendant molested a ﬁvc-ycar-old girl that he babysat,




 criminal history);


 revise"
            “
                       mm
 the defendant had maintained gainful employment throughout his adult lifc, and had a remote felony


                                       897 N.E.2d 927, 930 (Ind. 2008) (11!: defendant’s sentence was

                ‘ consecutive to concurrent sentences of 50 years each for two counts ofchild molesting


 as class


 eight-year-old girl and defendant had a prior criminal history);   MW
            A felonies where the defendant was in a position of trust when he repeatedly molested an
                                                                                   886 N.E.2d 578, 580

 (Ind. 2008) (The defendant‘s sentence was tevised from ﬁve consecutive twenty-two year sentences


 with two years suspended, totaling 100 years, to ﬁve concurrent sentences ofﬁﬁy years on ﬁve counts


 ofchild molesting as class A felonies, when the defendant was in a position oftrust with his victim


 who he molested repeatedly over two years, and the defendant‘s criminal history was driving-rclated.)

 Thctcfore. Skcens requests that this Court grant his Petition to Tmisfer and exercise Its power mdcr


 the Constitution of the State of Indiana and Appellate Rule 7(B) to review, revise, and reduce his




                                           W
 sentence to the advisory sentence on each count, with the counts to run concurrently with each other.


 in ordet to provide uniformity between Skeens' sentence and prior decisions ofthe Conn oprpals


 and this Court.




           Eric Benson Skcens mpectfully requests that this Court    gum his Petition to Transfer, ﬁnd

 that then was insufﬁcient evidence to suppon his convictions, or in the alternative. ﬁnd that {he




                                                      ll
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 sentence imposed was inappropriate in light ofthe nature ofthe oﬁense and (he chuacter ofSkeens.


 and for all othcrjust and pmper relief in the premisu.



                                        Respectfully submitted,



                                        MAm    ‘            AHN,D             & NIX. L.L.P.

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        l verify that this Petition contains   no more than 4,200 wo



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        l ccnify that service of a true and complete copy of thc above and foregoing Petition lo
 Transfer was served by depositing the same in the United Slates Mail, properly addressed and with
 ﬁrst-class postage afﬁxed, this 24th day of September. 20! 0, to:


 Gregory F. locllcr
 Ann L. Godwin. Deputy Attorney General
 Indiana Anomcy General
 Cn'minal Appeals Division
 C553 Government Center S.
 402 W. Washington Slree!
 Indianapolis. IN 46204-2770
 Attorney for Appellant
